    Case 22-22062-CMB Doc 10-1 Filed 10/28/22 Entered 10/28/22 08:41:14                                               Desc Ch 7
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